Case 1:17-cv-00385-JJM-LDA Document 1 Filed 08/18/17 Page 1 of 5 PageID #: 1



                           UNITED STATES DISTRICT COURT
                             DISTRICT OF RHODE ISLAND


JOHN KRONHOLM,                                    :
     Plaintiff                                    :
v.                                                :              C.A. No.:
                                                  :
ENT ASSOCIATES OF WESTERLY, LTD.                  :
and DAVID S. CAMERON,                             :              JURY TRIAL DEMANDED
     Defendants                                   :

                                        COMPLAINT

       1.      Plaintiff, John Kronholm, is a citizen and resident of the State of

Connecticut.

       2.      Defendant, ENT Associates of Westerly, Ltd., is a corporation organized

and existing under the laws of the State of Rhode Island with its office and principal

place of business in Westerly, Rhode Island.

       3.      David S. Cameron is a citizen and resident of the State of Rhode Island.

At all times mentioned herein, said Defendant was engaged in the practice of medicine

in Rhode Island and held himself out to be a specialist in the field of otolaryngology.

                                      JURISDICTION

       4.      Plaintiff brings his Complaint under Federal Diversity Jurisdiction, 28

U.S.C. § 1332, as the parties are completely diverse in citizenship and the amount in

controversy exceeds $75,000.




                                              1
Case 1:17-cv-00385-JJM-LDA Document 1 Filed 08/18/17 Page 2 of 5 PageID #: 2



                                         COUNT I

                                        Negligence

       5.     Plaintiff hereby incorporates Paragraphs 1 through 4 of the Complaint as if

set forth fully and at length herein.

       6.     At all times relevant hereto, Defendant Cameron was an employee and

agent of Defendant ENT Associates of Westerly, Ltd. and was acting within the scope of

that employment and agency.

       7.     Beginning in November of 2016, and thereafter, Defendant Cameron

undertook for good and valuable consideration to provide medical care and treatment to

John Kronholm.

       8.     Beginning in November of 2016, and thereafter, Defendant ENT

Associates of Westerly, Ltd. undertook, for a good and valuable consideration, to

provide medical care and treatment to John Kronholm.

       9.     At all times mentioned herein, Defendant Cameron had a duty to John

Kronholm to conform to the standard of care exercised by the average physician holding

himself out as a specialist in otolaryngology.

       10.    At all times mentioned herein, Defendant ENT Associates of Westerly, Ltd.

had a duty to John Kronholm to conform to the standard of care exercised by medical

practitioners in the specialty of otolarygology.

       11.    Nevertheless, Defendant Cameron breached his duty in that he

negligently provided medical care and treatment to John Kronholm.

       12.    Nevertheless, Defendant ENT Associates of Westerly, Ltd. breached its

duty in that it negligently provided medical care and treatment to John Kronholm.



                                              2
Case 1:17-cv-00385-JJM-LDA Document 1 Filed 08/18/17 Page 3 of 5 PageID #: 3




       13.    As a direct and proximate result of the negligence of Defendant Cameron,

John Kronholm has required additional surgeries, suffered mental and physical pain and

scarring, lost earnings, and incurred medical and other expenses, all of which will

continue into the future.

       14.    As a direct and proximate result of the negligence of Defendant ENT

Associates of Westerly, Ltd., John Kronholm has required additional surgeries, suffered

mental and physical pain and scarring, lost earnings, and incurred medical and other

expenses, all of which will continue into the future.

       WHEREFORE, Plaintiff John Kronholm demands judgment against Defendants

David S. Cameron and ENT Associates of Westerly, Inc., and each of them, jointly and

severally, for damages, plus interest and costs.

                                         COUNT II

                                    Informed consent

       15.    Plaintiff hereby incorporates Paragraphs 1 through 4 and 6 through 14 of

the Complaint as if set forth fully and at length herein.

       16.    It then and there became the duty of Defendants Cameron and ENT

Associates of Westerly, Inc., no emergency existing, to inform Plaintiff of the risks of

harm attendant to the treatment and care they proposed to administer to and perform

upon him so that he could give his informed consent to such treatment. It also then and

there became the duty of said Defendants to obtain Plaintiff’s informed consent before

proceeding with said treatment.




                                              3
Case 1:17-cv-00385-JJM-LDA Document 1 Filed 08/18/17 Page 4 of 5 PageID #: 4



       17.    Plaintiff disputes that the injuries he suffered as a result of the care and

treatment of the Defendants were within the risks of said care and treatment in the

absence of negligence. Assuming arguendo, however, that they were within the risk of

said care and treatment, Defendants Cameron and ENT Associates of Westerly, Inc.

disregarded their duty as aforesaid and failed to inform Plaintiff of the risks of harm

attendant to the treatment and care in question and proceeded to perform said

treatment and care without having obtained his informed consent.

       18.    If Defendants Cameron and ENT Associates of Westerly, Inc. had

informed Plaintiff of the risks of harm attendant to the treatment and care in question

including, but not limited to, the risk of him suffering those injuries which he suffered as

a direct result of said Defendants’ performance of the treatment and care in question,

Plaintiff would have refused to consent to the performance of said treatment and care.

       19. By reason of the foregoing, John Kronholm has required additional

surgeries, suffered mental and physical pain and scarring, lost earnings, and incurred

medical and other expenses, all of which will continue into the future.

       WHEREFORE, Plaintiff John Kronholm demands judgment against Defendants

David S. Cameron and ENT Associates of Westerly, Inc., and each of them, jointly and

severally, for damages, plus interest and costs.




                                              4
Case 1:17-cv-00385-JJM-LDA Document 1 Filed 08/18/17 Page 5 of 5 PageID #: 5



                                            Plaintiff
                                            John Kronholm
                                            By his Attorneys,

                                            /s/ Stephen P. Sheehan
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                                       JURY DEMAND

         The Plaintiff hereby demands a jury trial.


                                            /s/Stephen P. Sheehan__________________
                                            Stephen P. Sheehan, Esq. #4030



Dated:          August 18, 2017




                                               5
